                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE




 UNITED STATES OF AMERICA,                             )
                                                       )
                Plaintiff,                             )
                                                       )
 v.                                                    )       No. 3:06-CR-123
                                                       )       (JORDAN/GUYTON)
 DOUGLAS TROY THOMPSON and                             )
 RANDALL THOMPSON,                                     )
                                                       )
                Defendants.                            )



                                 MEMORANDUM AND ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. This case came before the undersigned for a pretrial conference and

 motion hearing on January 9, 2007. Present on behalf of the government was Assistant United

 States Attorney Cynthia F. Davidson. Present on behalf of the defendant Douglas Troy Thompson

 was attorney Leslie McAdoo. Present on behalf of the defendant Randall Thompson was attorney

 John T. Rogers. Both defendants were also present.


 I.     MOTION FOR THE PRODUCTION OF CO-CONSPIRATOR’S STATEMENT

                The defendant Randall Thompson moves the Court for an Order requiring the

 government to produce for his inspection any alleged statements made by any alleged co-

 conspirators, which the government intends to introduce at trial pursuant to Rule 801(b)(2)(E) of the




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 Federal Rules of Evidence. [Doc. 14]. In its written response, the government argues that the

 defendant’s request is outside the scope of discovery under Rule 16(a) of the Federal Rules of

 Criminal Procedure. [Doc. 31].

                At the hearing, the government advised the Court that all co-conspirator statements

 have been provided to the defendant. Based upon the government’s representation, counsel for

 Defendant Randall Thompson agreed to withdraw his motion. Accordingly, the Motion of

 Defendant Randall Thompson for the Production of Any Co-Conspirator Statement [Doc. 14] is

 DENIED AS MOOT.



 II.    MOTION FOR PRODUCTION OF AGENTS’ ROUGH NOTES

                The defendant Randall Thompson moves the Court for an Order requiring the

 government to produce any rough notes of any government agent allegedly taken by any such agent

 during the course of any statement allegedly made by the defendant. [Doc. 15]. At the hearing, the

 defendant Douglas Troy Thompson orally joined in this motion. In its written response, the

 government opposes the motion, arguing that any agents’ rough notes are not subject to discovery

 under Rule 16(a) of the Federal Rules of Criminal Procedure.

                Pursuant to the Order on Discovery and Scheduling [Doc. 8 Para. A(1)], the

 government is obligated to permit the defendants to inspect and copy any relevant written or

 recorded statements in the possession, custody or control of the government that were made by the

 defendant, including those portions of “any written record (including rough notes) containing the

 substance of any relevant oral statement made by defendant before or after arrest in response to




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 interrogation by any person then known to the defendant as a government agent.”1 Accordingly, the

 defendants’ Motion for Production of Any Rough Notes by Any Government Agency Pertaining to

 Any Statement Allegedly Made by Him [Doc. 15] is GRANTED.



 III.   MOTION FOR DISCLOSURE OF RULE 404(B) EVIDENCE

                The defendant Randall Thompson moves the Court for an Order requiring the

 government to provide to the defendant now, or at least fourteen (14) days before trial, a description

 of all Rule 404(b)-type evidence it intends to introduce in its case-in-chief. [Doc. 16]

                In response [Doc. 26], the government states that it will comply with the Court’s

 Order on Discovery and Scheduling [Doc. 8, para. I] and provide such evidence seven calendar days

 before trial. Counsel for the defendant at the hearing agreed that this was reasonable. Accordingly,

 Defendant Randall Thompson’s Motion for Disclosure of Any Rule 404(b) Evidence the

 Government Intends to Introduce at Trial [Doc. 16] is DENIED.



 IV.    MOTION FOR A BILL OF PARTICULARS

                The defendant Randall Thompson moves for a bill of particulars specifying the

 following information with respect to the Indictment [Doc. 1]: (1) a description of each act of

 participation and/or act of encouragement and/or affirmative act that Randall Thompson allegedly

 committed to help or encourage anyone else in the commission of the offense charged in the

 Indictment; and (2) a description of each act of participation and/or act of encouragement and/or


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         The Order on Discovery and Scheduling further requires the government to advise the
 agents and officers involved in the case to preserve all rough notes. [Doc. 8 para. H]. The
 government informed the Court at the hearing that it has so advised its agents and officers.

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 affirmative act that Douglas Troy Thompson committed to help or encourage anyone else to commit

 the offense charged in the Indictment. [Doc. 18]. The defendant argues that these requests are

 reasonable and necessary in order to enable the defendant to effectively prepare to defend the

 charges against him and to minimize the possibility of surprise at trial.

                 The government opposes the defendant’s motion, arguing that the defendant is merely

 seeking to discover evidentiary details and legal theories that the government will rely on at trial.

 The government further argues that the defendant was provided with extensive pretrial discovery

 on November 20, 2006, which included copies of the documents, checks, and bank statements which

 identify the alleged money laundering transactions. [Doc. 27].

                 Federal Rule of Criminal Procedure 7(f) states that

                 [t]he court may direct the government to file a bill of particulars. The
                 defendant may move for a bill of particulars before or within 10 days
                 after arraignment or at a later time if the court permits. The
                 government may amend a bill of particulars subject to such conditions
                 as justice requires.

 Fed. R. Crim. P. 7(f). “A bill of particulars is meant to be used as a tool to minimize surprise and assist

 defendant in obtaining the information needed to prepare a defense and to preclude a second

 prosecution for the same crimes. It is not meant as a tool for the defense to obtain detailed disclosure

 of all evidence held by the government before trial.” United States v. Salisbury, 983 F.2d 1369, 1375

 (6th Cir. 1993) (citations omitted). The granting of a bill of particulars is within the court’s discretion.

 See id. (holding that the appellate court reviews the denial of a bill of particulars for an abuse of

 discretion). The level of detail in the indictment can be a basis for denying the motion for a bill of

 particulars. Id. Additionally, “a defendant is not entitled to a bill of particulars with respect to

 information which is available through other sources.” United States v. Paulino, 935 F.2d 739, 750



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 (6th Cir. 1991), superseded on other grounds by statute, United States v. Caseslorente, 2000 Fed.

 App. 0240P (6th Cir. July 20, 2000) (on sentencing issue).

                 The one-count Indictment [Doc. 1] alleges as follows:

                 Beginning at least as early as February 17, 2004 and continuing until
                 on or about February 27, 2004, in the Eastern District of Tennessee
                 and elsewhere, the defendants, DOUGLAS TROY THOMPSON and
                 RANDALL THOMPSON, knowingly, willfully, and unlawfully,
                 conspired, agreed and confederated with one another to commit
                 offenses defined in Title 18, United States Code, Section 1956, that
                 is, to conduct and attempt to conduct financial transactions affecting
                 interstate commerce which involved the proceeds of a specified
                 unlawful activity, that is, theft of monies of the United States, in
                 violation of Title 18, United States Code, Section 641, knowing that
                 the transactions were designed, in whole or in part, to conceal and
                 disguise the nature, location, ownership and control of the proceeds
                 of the specified unlawful activity and knowing that while conducting
                 and attempting to conduct such financial transactions, the property
                 involved in those financial transactions represented the proceeds of
                 some form of unlawful activity, said financial transactions being
                 more particularly described as follows: 1) the deposit of a United
                 States Treasury Check in the amount of $47,175.00 made payable to
                 Randall L. Thompson . . . into the account of Randall L. Thompson
                 at USAA Federal Savings Bank, San Antonio, Texas and 2) the
                 deposit of a $47,000 check drawn on the account of Randall L.
                 Thompson at USAA Federal Savings Bank and made payable to
                 Carole Thompson[.]

 [Doc. 1].

                 The Indictment sets forth in detailed and specific language the nature of the

 defendant’s conduct which the government alleges violated the charged statute. Specifically, the

 Court finds that Count One as stated in the Indictment as charged sufficiently apprises the defendant

 of the charge that he is facing in order to permit him to prepare his defense, to avoid surprise at trial,

 and to protect against a double jeopardy violation. Furthermore, the Court finds that the defendant

 has been provided with extensive pretrial discovery, including copies of documents, checks, and



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 bank statements, which identify the alleged money laundering transactions. For these reasons,

 Defendant Randall Thompson’s Motion for a Bill of Particulars [Doc. 18] is DENIED.



 V.     MOTION TO COMPEL DISCOVERY AND BRADY MATERIAL

                The defendant Douglas Troy Thompson moves the Court to compel the government

 to produce certain discovery pursuant to Rule 16 and under the principles of Brady v. Maryland, 373

 U.S. 83 (1963). For grounds, the defendant states that the requested materials are in the possession

 of the government, are material to the presentation of the defense in this case, constitute evidence

 negating the element of intent in this case, and tend to mitigate the defendant’s culpability. [Doc.

 21]. Attached to the defendant’s motion are two letters dated December 15 and 18, 2006,

 respectively, setting forth the defendant’s specific discovery requests.

                The government opposes the defendant’s motion, arguing that most of the defendant’s

 discovery requests are far outside the scope of Rule 16 discovery. The government indicates that

 it will provide an FBI 302 reports prepared by the agents in this case. The government further

 argues that it is aware of its obligations under Brady and the Jencks Act and will comply with such

 obligations, per the Court’s Order on Discovery and Scheduling. [Doc. 32].

                The Court’s Order on Discovery and Scheduling [Doc. 19 para. E] provides as

 follows:

                The government shall reveal to the defendant and permit inspection
                and copying of all information and material known to the government
                which may be favorable to the defendant on the issues of guilt or
                punishment within the scope of Brady v. Maryland, 373 U.S. 83
                (1963), United States v. Agurs, 427 U.S. 97 (1976) (exculpatory
                evidence), and United States v. Bagley, 473 U.S. 667 (1985)
                (impeachment evidence). Timing of such disclosure is governed by
                United States v. Presser, 844 F.2d 1275 (6th Cir. 1988).

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 The Court finds that it has already ordered the government to turn over materials within the scope

 of Brady. Furthermore, the government has acknowledged its duty to disclose exculpatory and

 impeachment evidence, and states that such information will be turned over to the defense, if such

 information exists. Accordingly, the Court finds that no further ruling on the requested Brady

 materials is necessary.

                The defendant’s motion to compel [Doc. 21] is GRANTED with respect to (1) the

 defendant’s request for FBI 302 reports and (2) his request for any rough notes which contain the

 substance of any relevant oral statement made by defendant before or after arrest in response to

 interrogation by any person then known to the defendant as a government agent. To the extent that

 the defendant seeks State Department contracting documents, the Court finds that the defendant’s

 request falls outside the scope of Rule 16 discovery and/or Brady. Furthermore, the Court notes that

 defense counsel indicated at the hearing that she intends to subpoena these documents from the State

 Department under the applicable Touhy regulations. Accordingly, to the extent to that the defendant

 seeks to compel the production of State Department contracting documents, the defendant’s motion

 to compel [Doc. 21] is DENIED.



 VI.    MOTION TO SUPPRESS

                The defendant Douglas Troy Thompson moves the Court to suppress the defendant’s

 oral statement made to government agents on April 25, 2005, and to preclude the government from

 using any portion of that oral statement in its case-in-chief. [Doc. 22].




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                In response, the government states that it does not intend to introduce the defendant’s

 statement in its case-in-chief. [Doc. 28]. Based upon this stipulation, the defendant agrees that his

 motion is now moot, and therefore, Defendant Douglas Troy Thompson’s Suppression Motion [Doc.

 22] is DENIED AS MOOT.



 VII.   MOTION FOR SEVERANCE

                The defendant Douglas Troy Thompson moves the Court for relief under Bruton v.

 United States, 391 U.S. 123 (1968). For grounds, the defendant states that the government intends

 to introduce certain oral statements made by co-defendant Randall Thompson, which the defendant

 believes tend to inculpate the defendant Douglas Troy Thompson. Accordingly, in order to secure

 his right of confrontation, the defendant asks the Court for appropriate relief, including but not

 limited to severance of the joint trial, exclusion of the inculpatory statements, and/or redaction of

 the statements, if possible. [Doc. 24].

                In response, the government states that it intends to offer in its case-in-chief only

 those portions of defendant Randall Thompson’s admissions which do not directly inculpate

 defendant Douglas Troy Thompson, thereby alleviating any Bruton issues. The government has

 submitted redacted versions of the defendant Randall Thompson’s statements for the Court’s

 consideration. At the request of defense counsel, the government agreed to further redact two

 sentences from the last paragraph of the May 9, 2005 statement, which sentences refer to attorney

 McAdoo. With that additional redaction, the defendants agree that any potential Bruton issues

 presented by the statements are now resolved. Accordingly, Defendant Douglas Troy Thompson’s




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 Motion for Relief under Bruton v. United States [Doc. 24] is now moot, and the motion is therefore

 DENIED AS MOOT.



 VIII. MOTION FOR CONTINUANCE

                  At the hearing, defendants’ counsel orally moved for a continuance of the trial, which

 is currently set to begin January 25, 2007. For grounds, counsel argued that additional time was

 needed in order to subpoena certain State Department employees and to review the discovery that

 will be provided by the government. The government opposed the defendants’ oral motion.

                  The Court finds the joint oral motion to continue to be well-taken, and it is therefore

 GRANTED. The Court finds that the ends of justice served by granting the motion outweigh the

 best interest of the public and the defendants in a speedy trial. 18 U.S.C. § 3161(h)(8)(A). The

 Court finds that a continuance is required to allow both parties the reasonable time necessary to

 prepare for trial, particularly to subpoena certain State Department employees and to review the

 discovery that will be provided by the government, even taking into account counsels’ due diligence.

 See 18 U.S.C. § 3161(h)(8)(B)(iv).

                  In light of these findings and its granting of the oral motion, the Court set a new trial

 date of March 12, 2007. The Court further finds, and the defendants agree, that the period of time

 between January 9, 2007 and the new trial date of March 12, 2007 shall be fully excludable as

 provided by the Speedy Trial Act. 18 U.S.C. § 3161(h)(8)(A)-(B). The Court also notes that delay

 during pendency of the defendant’s motions is also excludable time under the Act. 18 U.S.C. §

 3161(h)(1)(F).




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VIII. CONCLUSION

           For the foregoing reasons, it is hereby ORDERED:

    (1) The Motion of Defendant Randall Thompson for the Production of Any Co-
    Conspirator Statement [Doc. 14] is DENIED AS MOOT;

    (2) Defendants’ Motion for Production of Any Rough Notes by Any Government
    Agency Pertaining to Any Statement Allegedly Made by Him [Doc. 15] is
    GRANTED;

    (3) Defendant Randall Thompson’s Motion for Disclosure of Any Rule 404(b)
    Evidence the Government Intends to Introduce at Trial [Doc. 16] is DENIED;

    (4) Defendant Randall Thompson’s Motion for a Bill of Particulars [Doc. 18] is
    DENIED;

    (5) Defendant Douglas Troy Thompson’s Motion to Compel Discovery and Brady
    Material [Doc. 21] is GRANTED IN PART and DENIED IN PART;

    (6) Defendant Douglas Troy Thompson’s Suppression Motion [Doc. 22] is DENIED
    AS MOOT;

    (7) Defendant Douglas Troy Thompson’s Motion for Relief under Bruton v. United
    States [Doc. 24] is DENIED AS MOOT;

    (8) The pretrial conference is hereby CONTINUED to March 6, 2007 at 9:00 a.m.
    before the Honorable H. Bruce Guyton, United States Magistrate Judge; and

    (9) The trial of this matter is hereby CONTINUED to March 12, 2007 at 9:00 a.m.
    before the Honorable Leon Jordan, United States District Judge.


           IT IS SO ORDERED.

                                       ENTER:

                                             s/ H. Bruce Guyton
                                       United States Magistrate Judge




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